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Form CGFCRD3C (01/14/23)

                                 United States Bankruptcy Court
                                      Southern District of Florida
                                       www.flsb.uscourts.gov
                                                                                   Case Number: 23−20514−LMI
                                                                                   Chapter: 11

In re:
 Bird Global, Inc.
 392 N.E. 191st Street, #20388
 Miami, FL 33179
 EIN: 86−3723155


                                         NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Laurel M Isicoff to consider the
following:

Emergency Motion to Obtain Credit Under FRBP 4001 c Debtors' Emergency Motion for Interim and
Final Orders (I) Approving PostPetition Financing, in addition to Emergency Motion to Use Cash
Collateral , (III) Granting Liens and Providing Superpriority Administrative Expense Status, in
addition to Emergency Motion for Adequate Protection , (V) Modifying Automatic Stay, in addition
to Emergency Motion to Set Hearing (Re: 31 Declaration) , and (VII) Granting Related Relief Filed by
Debtor Bird Global, Inc., Interested Parties Bird Rides, Inc., Bird US Holdco, LLC, Bird US Opco,
LLC, Skinny Labs, Inc. (Guso, Jordi) (32)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is thirty minutes. The hearing will be held:

     Date:          December 22, 2023
     Time:          09:30 AM
     Location:      C. Clyde Atkins U.S. Courthouse, 301 N Miami Avenue, Courtroom 8, Miami, FL
                    33128

2.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

3.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

4.   PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
     Electronic devices, including but not limited to cameras, cellular phones (including those with
     cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios,
     tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court.
     These restrictions (except for cameras not integrated into a cell phone device) do not apply to
     attorneys with a valid Florida Bar identification card, attorneys who have been authorized to appear by
     pro hac vice order and witnesses subpoenaed to appear in a specific case. No one is permitted to
     bring a camera or other prohibited electronic device into a federal courthouse facility except with a
     written order signed by a judge and verified by the United States Marshals Service. See Local Rule
     5072−2.
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Dated: 12/20/23                                CLERK OF COURT
                                               By: Noemi Sanabria
                                               Courtroom Deputy
